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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

  ACKERMAN MCQUEEN, INC.,                   §
                                            §
         Plaintiff,                         §
                                            §
  v.                                        §   Civil Action No. 3:19-CV-03016-X
                                            §
  GRANT STINCHFIELD,                        §
                                            §
         Defendant.                         §


                       ORDER EXTENDING DEADLINES

       The parties filed a Joint Motion to Continue Discovery and Mediation

Deadlines [Doc. No. 27]. The Court GRANTS IN PART the motion to extend

deadlines. Deadlines are extended as follows:

          •   All discovery procedures shall be initiated in time to complete

              discovery by December 21, 2020.

          •   The parties shall mediate their case by January 4, 2021.

          •   All motions for summary judgment shall be filed by January 18, 2021.

          •   All challenges to experts—including motions to strike or exclude expert

              witnesses—shall be filed by January 18, 2021.

       IT IS SO ORDERED this 16th day of October 2020.



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                                                BRANTLEY STARR
                                                UNITED STATES DISTRICT JUDGE
